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                                                         EXHIBIT A

                                                                    Henry Andrew Moak, Jr.
                                                          1331 Pennsylvania Ave N.W., Washington, D.C. 20005


EXPERIENCE

Acting Chief Accountability Officer                                                        April 2017 – Present
Department of H omeland Security
U.S. Customs and Border Protection
Office of Accountability
Washington, D.C.


Director – Program Manager                                                              June 2011 – April 2017
Department of H omeland Security
U. S. Customs and Border Protection
Washington, D.C.


     I directed and managed the performance management and analysis functions for U. S. Customs and
     Border Protection (CBP). I had 7 direct reporting analyst and we crafted and implemented the
     Performance Management Framework for CBP.

     I am a Senior Fellow of the Department of Homeland Security (DHS) and graduated from the DHS
     Fellows Program in December 2012.


Management Program Analyst                                                              May 2010 – June 2011
Department of H omeland Security
U. S. Customs and Border Protection
Washington, D.C.

     I was a Management Program Analyst working in performance management with CBP. The Office
     of Administration oversees GPRA and non-GPRA performance measure development and
     implementation for CBP. The work requires the ability to lead, direct, and forge new and emerging
     programs under development and to determine performance measurement success.


Colonel – United States Army                                                   August 2008 – September 2009
Chairman’s New Administration Transition Team
Joint Chiefs of Staff
Joint Staff, Pentagon, Washington, D.C.

     I was selected by the Vice Chief of Staff Army to assist the Chairman, Joint Chiefs of Staff (CJCS),
     Admiral Mike Mullen, with the seamless transition to the new administration. The team assisted the
     Chairman Joint Chiefs of Staff to insure a seamless move between administrations. The Chairman's
     New Administration Transition Team (CNATT) assisted the CJCS with strategic and operational
     issues, as the CJCS represents the Department of Defense until the Secretary of Defense is selected
     in a new administration.


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Colonel – United States Army                                                              March 2005 – July 2008
Special Assistant for Reserve Affairs
Office of the Chief of Staff Army
United States Army Staff, Pentagon, Washington, D.C.

      I was selected by the Director, Army Staff (DAS) to return to active duty to take a position in the
      Headquarters, Department of the Army (HQDA) working for The Vice Chief of Staff Army
      (VCSA). My primary responsibility was to work selected US Army and Reserve Component (RC)
      policy issues including Federal Budget and POM cycle decisions for VCSA decision or guidance. My
      dialogue and work required regular interface with the Army Staff, the Reserve Component Chiefs,
      and policymakers to be sure that all relevant issues were timely presented to the VCSA. As the
      Military Executive to VCSA and Chairman of the AC/RC Integration Council of Colonels, my
      responsibility was to facilitate agreement within the General Officers ranks, Senior Executive Service
      (SES) leadership, and whatever staff section owned the policy in question prior to presenting to the
      VCSA. The process of working issues and taskers throughout HQDA meant building consensus.
      The Reserve Component Coordination Council (RCCC), which is a VCSA forum with his senior
      leadership consisting of Army Staff General Officers, the Chief Army Reserve, and the Director
      Army National Guard, reviews RC issues within HQDA. In addition, the VCSA tasked me to assist
      a Task Force within the Army G3. As the Deputy Director of the CSA Army Initiative 4 Task Force,
      we looked at all issues relating to Operationalizing the Reserve Components. We analyzed and
      prepared budget submissions that totaled over $22 Billon dollars to be spent over the life of the
      POM cycle, while reviewing the process with a Lean Six Sigma filter. I was seen as an expert in
      HQDA on RC issues, policies, and force structure alignment. My office was assigned responsibilities
      to be implemented for Army continuity purposes.


Colonel – United States Army Reserve                                                    June 2000 – February 2005
Commander (Forward) and Chief of Staff
377th Theater Support Command
New Orleans, LA

      After 9/11, the 377th Theater Support Command (TSC) was immediately thrown into operational
      and contingency planning for Operation Enduring Freedom and ultimately the execution of the War
      Plan Cobra II, Operation Iraqi Freedom, with 8 General Officer and 12 Colonel Commands totaling
      43,500 Soldiers in subordinate units. The TSC (Forward) was formed up, mobilized, and deployed to
      Southwest Asia for combat operations. I was selected by the Commander 377th TSC as the Forward
      Commander for all of our subordinate commands in Theater, and the TSC would report directly to
      the 3rd Army Commander in Theater. I assumed the role of senior logistics advisor to the 3rd Army
      Commander. The daily rigors of combat operations tested my problem solving and organizational
      skills as we were deployed with a limited staff. My command and professional relationship during
      combat operations, reporting to the 3rd Army Commander, is unmatched in my military career.




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     In 2002, as the Chief of Staff working for the Commanding General, I reviewed, analyzed, and
     prepared operational plans and policies for decision, with 12 direct reporting Colonels. I assumed
     the responsibility of opening, staffing, managing and directing a new logistics base in Theater. Our
     requirement was that we would have over 25,000 soldiers rotating in and out of the base on a daily
     basis. On a daily basis the threat environment continued to change. My work with the US Embassy
     officials, local government, and the host nation, was a continuing challenge as we completely
     overtook the host nations ports and roads. I worked closely with the Kuwaiti Ministry of Interior on
     a regular basis, to be sure there were no surprises as we moved 200,000 soldiers and downloaded
     over 75 ships through their country. I relied upon my 12 direct reporting Colonels, who delivered
     exceptionally detailed and complex plans. The 377th TSC was a fully integrated theater logistics
     command at war.


Military Command Time and Leadership Experience                                     August 1985 – August 1998
U.S. Army Reserve

     Two Lieutenant Colonel Commands; one recall to Active Duty to field the AH-64 (Apache) and two
     Colonel Commands of which, one Brigade command, Fort Rucker, AL.


President and Owner – Moak Properties, Inc.                                         November 1976 – June 2000
Jackson, Mississippi

     I formed Moak Properties, Inc., to raise investment capital for property management and real estate
     development. As a Real Estate Broker we analyzed, projected, reviewed, and developed strategic real
     estate business plans while concentrating on capital appreciation. As of January 2017, Moak
     Properties, Inc. remains a going concern owning and managing real property.


Captain – United States Marine Corps                                                June 1971 – November 1976
Naval Aviator
HMH-363, HMM-165 WESTPAC-Vietnam
2nd Marine Division – Camp Lejeune, North Carolina
3rd Marine Aircraft Wing – MCAS Santa Ana, California

     I was commissioned in the United States Marine Corps and was designated as a Naval Aviator in
     June, 1972. I was then deployed to WESTPAC for a combat operations in Southeast Asia, embarked
     aboard the USS Tripoli, with Marine Squadron HMM - 165. I was released from active duty in
     1976 and return to civilian life.




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EDUCATION

Department of H omeland Security
Senior Fellow                                                                                December 2012

Graduate United States Army War College                                                           July 1996
Carlisle Barracks, Pennsylvania
International Studies

University of Mississippi                                                        September 1968 – May 1971
Bachelor of Business Administration

           ♦ Sigma Nu Fraternity – Chaplain
           ♦ Committee of 100
           ♦ Campus Senate

Marion Military Institute                                                        September 1967 – May 1968
Freshman Year of College – Service Academy Preparatory School
Marion, Alabama




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